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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

SAMHITA GERA, Individually and on          Case No. 1:23-cv-07908-DLC
Behalf of All Others Similarly Situated,

                             Plaintiff,

              v.

UiPATH, INC., DANIEL DINES, and
ASHIM GUPTA,

                             Defendants.


WITHDRAWAL OF RAMESH BABU KADIYAM’S MOTION FOR APPOINTMENT
       AS LEAD PLAINTIFF AND APPROVAL OF LEAD COUNSEL
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        On November 6, 2023, Ramesh Babu Kadiyam (“Kadiyam”) filed a motion for

appointment as lead plaintiff and approval of lead counsel in connection with the above-captioned

securities fraud class action (Dkt. No. 17, the “Motion”). Six similar motions were filed by other

putative class members in this action.

        The Private Securities Litigation Reform Act of 1995 (“PSLRA”) directs the Court to

appoint the “most adequate plaintiff” as lead plaintiff and provides a rebuttable presumption that

the most adequate movant is the person or group that, among other things, has “the largest financial

interest in the relief sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). Having reviewed the

competing motions and supporting papers provided by the other movants seeking appointment as

lead plaintiff, it appears that Kadiyam does not have the largest financial interest in the relief

sought by the class, as required by the PSLRA. As such, Kadiyam hereby withdraws his Motion.

       By this withdrawal, Kadiyam does not waive his rights to participate and recover as a class

member in this litigation.

                                              Respectfully submitted,

DATED: November 22, 2023                      GLANCY PRONGAY & MURRAY LLP

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                           Additional Counsel




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                                    PROOF OF SERVICE

       I, the undersigned say:

       I am not a party to the above case and am over eighteen years old.

       On November 22, 2023, I served true and correct copies of the foregoing document, by

posting the document electronically to the ECF website of the United States District Court for the

Southern District of New York, for receipt electronically by the parties listed on the Court’s

Service List.

       I affirm under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on November 22, 2023, at New York, New York.

                                                    /s/ Gregory B. Linkh
                                                    Gregory B. Linkh
